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                                                             UNITED STATES BANKRUPTCY COURT
                                                               EASTERN DISTRICT OF VIRGINIA


                                                                            CHAPTER 13 PLAN
                                                                          AND RELATED MOTIONS

                                     Wayne Kevin Lewis
Name of Debtor(s):                   Carnell Lewis                                              Case No: 20-30280-KRH

This plan, dated         January 21, 2020            , is:

                                 the first Chapter 13 plan filed in this case.
                                 a modified Plan, which replaces the
                                   confirmed or unconfirmed Plan dated                .

                                 Date and Time of Modified Plan Confirmation Hearing:

                                 Place of Modified Plan Confirmation Hearing:


                       The Plan provisions modified by this filing are:


                       Creditors affected by this modification are:

1. Notices
To Creditors:
Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read this plan
carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court.
(1) Richmond and Alexandria Divisions:
The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed.
(2) Norfolk and Newport News Divisions: a confirmation hearing will be held even if no objections have been filed.
    (a) A scheduled confirmation hearing will not be convened when:
         (1) an amended plan is filed prior to the scheduled confirmation hearing; or
         (2) a consent resolution to an objection to confirmation anticipates the filing of an amended plan and the objecting
         party removes the scheduled confirmation hearing prior to 3:00 pm on the last business day before the confirmation
         hearing.
In addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance.

Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set out later in the plan.
A.        A limit on the amount of a secured claim, set out in Section 4.A which may                Included          Not included
          result in a partial payment or no payment at all to the secured creditor
B.        Avoidance of a judicial lien or nonpossessory, nonpurchase-money                         Included           Not included
          security interest, set out in Section 8.A
C.        Nonstandard provisions, set out in Part 12                                               Included           Not included

2.      Funding of Plan. The debtor(s) propose to pay the Trustee the sum of $ 2,500.00               per     month   for    60     months.
Other payments to the Trustee are as follows:
                                                               Page 1

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            The total amount to be paid into the Plan is $                150,000.00    .
3.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.
           A.          Administrative Claims under 11 U.S.C. § 1326.
                       1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10% of all sums
                                    received under the plan.
                       2.           Check one box:
         Debtor(s)’ attorney has chosen to be compensated pursuant to the “no-look” fee under Local Bankruptcy Rule 2016-1(C)(1)(a)
        and (C)(3)(a) and will be paid $ 5,134.00 , balance due of the total fee of $ 5,434.00 concurrently with or prior to the
        payments to remaining creditors.
         Debtor(s)' attorney has chosen to be compensated pursuant to Local Bankruptcy Rule 2016-1(C)(1)(c)(ii) and must submit
        applications for compensation as set forth in the Local Rules.
           B.          Claims under 11 U.S.C. § 507.
                       The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                       monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid pursuant to
                       3.C below:
Creditor                                      Type of Priority                         Estimated Claim                    Payment and Term
Commonwealth of Virginia                      Taxes and certain other debts            639.97                                 10.67
                                                                                                                          60 months
County of Chesterfield                        Taxes and certain other debts            897.08                                 14.95
                                                                                                                          60 months
           C.          Claims under 11 U.S.C. § 507(a)(1).
                       The following priority creditors will be paid prior to other priority creditors but concurrently with administrative
                       claims above.
Creditor                                      Type of Priority                         Estimated Claim                    Payment and Term
-NONE-


4.    Secured Creditors: Motions to Value Collateral (“Cramdown”), Collateral being Surrendered, Adequate Protection
Payments, and Payment of certain Secured Claims.
                       A.      Motions to Value Collateral (other than claims protected from “cramdown” by 11 U.S.C. §
                       1322(b)(2) or by the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the
                       Court, the Court may grant the debtor(s)’ motion to value collateral as set forth herein.
           This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
           “cramdown” by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)’ principal residence] or by the final paragraph of 11
           U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
           bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
           treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
           interest as provided in sub-section D of this section. You must refer to section 4(D) below to determine the interest
           rate, monthly payment and estimated term of repayment of any “crammed down” loan. The deficiency balance owed
           on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 5 of the Plan.
           The following secured claims are to be “crammed down” to the following values:

Creditor                                 Collateral                          Purchase Date               Est. Debt Bal.               Replacement Value
Virginia Credit Union                    2015 GMC Yukon SLE                  06/2017                     48,762.00                    25,600.00
                                         106,000 miles
Virginia Credit Union                    2015 GMC Yukon SLE                                              9,999.00                     0.00
                                         106,000 miles;
                                         Basis for treatment: 11
                                         U.S.C. § 1322(b)(1)
           B.          Real or Personal Property to be Surrendered.
           Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the
           claims of the following creditors in satisfaction of the secured portion of such creditors’ allowed claims. To the extent that
                                                                                 Page 2

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           the collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
           non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay under §§ 362(a) and 1301(a) as to
           the interest of the debtor(s), any co-debtor(s) and the estate in the collateral.
Creditor                                      Collateral Description             Estimated Value                Estimated Total Claim
-NONE-
           C.          Adequate Protection Payments.
           The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
           secured by personal property, until the commencement of payments provided for in sections 4(D) and/or 7(B) of the Plan, as
           follows:
Creditor                                     Collateral                        Adeq. Protection Monthly Payment      To Be Paid By
Exeter Finance                               2020 Kia Soul X-Line 2,100 120.00                                       Trustee
                                             miles
Virginia Credit Union                        2015 GMC Yukon SLE 106,000 128.00                                       Trustee
                                             miles
           Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
           7(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
           order for relief).
           D.          Payment of Secured Claims on Property Being Retained (except those loans provided for in section 6 of the
                       Plan):
           This section deals with payment of debts secured by real and/or personal property [including short term obligations,
           judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
           allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral’s
           replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below,
           the monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
           Plan, the valuation specified in sub-section A and interest rate shown below will be binding unless a timely written
           objection to confirmation is filed with and sustained by the Court.
Creditor                                 Collateral                           Approx. Bal. of Debt or   Interest Rate   Monthly Payment &
                                                                              "Crammed Down" Value                      Est. Term
Exeter Finance                           2020 Kia Soul X-Line 2,100           24,296.00                 5.75%              503.56
                                         miles                                                                          55 months



Virginia Credit Union                    2015 GMC Yukon SLE 106,000           25,600.00                 5.75%              530.59
                                         miles                                                                          55 months



Virginia Credit Union                    2015 GMC Yukon SLE 106,000 0.00                                0%              Prorata
                                         miles;                                                                         0 months
                                         Basis for treatment: 11 U.S.C. §
                                         1322(b)(1)


           E.          Other Debts.
           Debts which are (i) mortgage loans secured by real estate which is the debtor(s)’ principal residence, or (ii) other long term
           obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
           payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 6 of the Plan.
5.         Unsecured Claims.
           A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                       remaining after disbursement to allowed secured and priority claims. Estimated distribution is
                       approximately 100 %. The dividend percentage may vary depending on actual claims filed. If this case were
                       liquidated under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a dividend of
                       approximately 0 %.

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          B.          Separately classified unsecured claims.
Creditor                                           Basis for Classification                              Treatment
-NONE-
6.       Mortgage Loans Secured by Real Property Constituting the Debtor(s)’ Principal Residence; Other Long Term
Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any existing
default under 11 U.S.C. § 1322(b)(5).
                      A.        Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors
                      listed below will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if
                      any, will be paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated
                      below, without interest unless an interest rate is designated below for interest to be paid on the arrearage claim and
                      such interest is provided for in the loan agreement. A default on the regular contract payments on the debtor(s)
                      principal residence is a default under the terms of the plan.
Creditor                                Collateral                       Regular           Estimated     Arrearage     Estimated Cure       Monthly
                                                                         Contract          Arrearage     Interest Rate Period               Arrearage
                                                                         Payment                                                            Payment
Fed Loan Servicing                      Student Loans                    0.00              0.00          0%              0months

PennyMac Loan Services                  11419 Timber Point               2,788.04          14,000.00     0%              18months                   Prorata
                                        Drive Chesterfield,
                                        VA 23838
                                        Chesterfield County
                                        Primary Residence
                                        Parcel ID:
                                        755651522800000
          B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                      regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                      debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                      below.
Creditor                            Collateral                              Regular Contract      Estimated         Interest Rate Monthly Payment on
                                                                            Payment               Arrearage         on            Arrearage & Est. Term
                                                                                                                    Arrearage
-NONE-


          C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                      constituting the debtor(s)’ principal residence upon which the last scheduled contract payment is due before the final
                      payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                      1322(c)(2) with interest at the rate specified below as follows:
Creditor                                    Collateral                              Interest Rate Estimated Claim           Monthly Payment & Term
-NONE-



7.       Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts,
leases and/or timeshare agreements listed below.
                      A.       Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory
                      contracts:
Creditor                                             Type of Contract
Interval International                               Membership Contract - Reject

          B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                      contracts. The debtor(s) agree to abide by all terms of the agreement. The Trustee will pay the pre-petition
                      arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                      indicated below.


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Creditor                                      Type of Contract               Arrearage               Monthly Payment for Estimated Cure Period
                                                                                                     Arrears
MB Financial Services                         Agreement,Contract                          7,652.43               Prorata 18months
8.          Liens Which Debtor(s) Seek to Avoid.
            A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                        judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)’ exemptions. Unless a
                        written objection is timely filed with the Court, the Court may grant the debtor(s)’ motion and cancel the
                        creditor’s lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                        hearing.
Creditor                                      Collateral                     Exemption Basis         Exemption Amount    Value of Collateral
-NONE-


            B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                        will file and serve separate adversary proceedings to avoid the following liens or security interests. The creditor
                        should review the notice or summons accompanying such pleadings as to the requirements for opposing such
                        relief. The listing here is for information purposes only.
Creditor                                      Type of Lien                  Description of Collateral          Basis for Avoidance
-NONE-
9.          Treatment and Payment of Claims.
      •     All creditors must timely file a proof of claim to receive any payment from the Trustee.
      •     If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
            confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the Plan. This paragraph
            does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the
            debtor(s) receive a discharge.
      •     If a claim is listed in the Plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor
            will be treated as unsecured for purposes of distribution under the Plan.
      •     The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.
      •     If relief from the automatic stay is ordered as to any item of collateral listed in the plan, then, unless otherwise ordered by the
            court, all payments as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by
            the plan.
      •     Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of claim controls over any
            contrary amounts listed in the plan.
10.         Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not transfer, sell, refinance, encumber real property or enter into a mortgage
            loan modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.
11.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total
            of $5,000 principal amount during the term of this Plan, whether unsecured or secured, except upon approval of the Court
            after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the extent required by the
            Local Rules of this Court.
12.         Nonstandard Plan Provisions

                 None. If "None" is checked, the rest of Part 12 need not be completed or reproduced.




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Dated:      January 21, 2020

/s/ Wayne Kevin Lewis                                                                             /s/ Daniel J. Webster
Wayne Kevin Lewis                                                                                 Daniel J. Webster 92593
Debtor 1                                                                                          Debtors' Attorney

/s/ Carnell Lewis
Carnell Lewis
Debtor 2
          By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also
          certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in the Local
          Form Plan, other than any nonstandard provisions included in Part 12.
Exhibits:             Copy of Debtor(s)’ Budget (Schedules I and J); Matrix of Parties Served with Plan


                                                                         Certificate of Service
I certify that on      January 21, 2020            , I mailed a copy of the foregoing to the creditors and parties in interest on the attached Service
List.

                                                                                                  /s/ Daniel J. Webster
                                                                                                  Daniel J. Webster 92593
                                                                                                  Signature

                                                                                                  P.O. Box 11588
                                                                                                  Richmond, VA 23230-1588
                                                                                                  Address

                                                                                                  (804) 358-9900
                                                                                                  Telephone No.

                                                CERTIFICATE OF SERVICE PURSUANT TO RULE 7004
I hereby certify that on         January 21, 2020              true copies of the forgoing Chapter 13 Plan and Related Motions were served upon the
following creditor(s):
Virginia Credit Union, Inc.
Christopher M. Shockley, CEO/Mgr
7500 Boulder View Dr.
North Chesterfield, VA 23225
   by first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P.; or
   by certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

                                                                                                  /s/ Daniel J. Webster
                                                                                                  Daniel J. Webster 92593

                                                            United States Bankruptcy Court
                                                                     Eastern District of Virginia
          Wayne Kevin Lewis
 In re    Carnell Lewis                                                                                       Case No.   20-30280-KRH
                                                                                  Debtor(s)                   Chapter    13


                                                       SPECIAL NOTICE TO SECURED CREDITOR

         Virginia Credit Union, Inc.; Christopher M. Shockley, CEO/Mgr
         7500 Boulder View Dr.; North Chesterfield, VA 23225
         Name of creditor
                                                                                  Page 6

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          2015 GMC Yukon SLE 106,000 miles
          Description of collateral

1.         The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                       To value your collateral. See Section 4 of the plan. Your lien will be limited to the value of the collateral, and any
                       amount you are owed above the value of the collateral will be treated as an unsecured claim.

                       To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                       Section 8 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

                        Date objection due:                                No later than 7 days prior to 3/11/2020
                        Date and time of confirmation hearing:             March 11, 2020 @ 11:10AM
                        Place of confirmation hearing:                     701 E. Broad St., Rm 5000, Richmond, VA

                                                                                    Wayne Kevin Lewis
                                                                                    Carnell Lewis
                                                                                    Name(s) of debtor(s)

                                                                              By:   /s/ Daniel J. Webster
                                                                                    Daniel J. Webster 92593
                                                                                    Signature

                                                                                        Debtor(s)' Attorney
                                                                                        Pro se debtor

                                                                                    Daniel J. Webster 92593
                                                                                    Name of attorney for debtor(s)
                                                                                    P.O. Box 11588
                                                                                    Richmond, VA 23230-1588
                                                                                    Address of attorney [or pro se debtor]

                                                                                    Tel. #    (804) 358-9900
                                                                                    Fax #     (804) 358-8704


                                                                    CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by
             first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or
             certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this     January 21, 2020            .


                                                                                    /s/ Daniel J. Webster
                                                                                    Daniel J. Webster 92593
                                                                                    Signature of attorney for debtor(s)
Ver. 10/18




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                                                             United States Bankruptcy Court
                                                                      Eastern District of Virginia
           Wayne Kevin Lewis
 In re     Carnell Lewis                                                                                       Case No.   20-30280-KRH
                                                                                  Debtor(s)                    Chapter    13


                                                        SPECIAL NOTICE TO SECURED CREDITOR

         Virginia Credit Union, Inc.; Christopher M. Shockley, CEO/Mgr
         7500 Boulder View Dr.; North Chesterfield, VA 23225
         Name of creditor

         2015 GMC Yukon SLE 106,000 miles;
         Basis for treatment: 11 U.S.C. § 1322(b)(1)
         Description of collateral

1.         The attached chapter 13 plan filed by the debtor(s) proposes (check one):

                       To value your collateral. See Section 4 of the plan. Your lien will be limited to the value of the collateral, and any
                       amount you are owed above the value of the collateral will be treated as an unsecured claim.

                       To cancel or reduce a judgment lien or a non-purchase money, non-possessory security interest you hold. See
                       Section 8 of the plan. All or a portion of the amount you are owed will be treated as an unsecured claim.

2.       You should read the attached plan carefully for the details of how your claim is treated. The plan may be confirmed, and
the proposed relief granted, unless you file and serve a written objection by the date specified and appear at the confirmation hearing.
A copy of the objection must be served on the debtor(s), their attorney, and the chapter 13 trustee.

                        Date objection due:                                   No later than 7 days prior to 3/11/2020
                        Date and time of confirmation hearing:                March 11, 2020 @ 11:10AM
                        Place of confirmation hearing:                        701 E. Broad St., Rm 5000, Richmond, VA

                                                                                        Wayne Kevin Lewis
                                                                                        Carnell Lewis
                                                                                        Name(s) of debtor(s)

                                                                                  By:   /s/ Daniel J. Webster
                                                                                        Daniel J. Webster 92593
                                                                                        Signature

                                                                                           Debtor(s)' Attorney
                                                                                           Pro se debtor

                                                                                        Daniel J. Webster 92593
                                                                                        Name of attorney for debtor(s)
                                                                                        P.O. Box 11588
                                                                                        Richmond, VA 23230-1588
                                                                                        Address of attorney [or pro se debtor]

                                                                                        Tel. #   (804) 358-9900
                                                                                        Fax #    (804) 358-8704




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                                                                   CERTIFICATE OF SERVICE
I hereby certify that true copies of the foregoing Notice and attached Chapter 13 Plan and Related Motions were served upon the
creditor noted above by
             first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P; or
             certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

on this    January 21, 2020            .


                                                                                  /s/ Daniel J. Webster
                                                                                  Daniel J. Webster 92593
                                                                                  Signature of attorney for debtor(s)
Ver. 10/18




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Fill in this information to identify your case:

Debtor 1                      Wayne Kevin Lewis

Debtor 2                      Carnell Lewis
(Spouse, if filing)

United States Bankruptcy Court for the:        EASTERN DISTRICT OF VIRGINIA

Case number               20-30280-KRH                                                                  Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with            Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                              Occupation           Maintenance Mechanic                        Executive Director
       Include part-time, seasonal, or
       self-employed work.                                                                                     Southside Adult Day Care Center,
                                              Employer's name      USPS                                        Inc.
       Occupation may include student
       or homemaker, if it applies.           Employer's address
                                                                                                               1500 Hull Street
                                                                                                               Richmond, VA 23224

                                              How long employed there?        Since 1/18/2000                           Since 4/2019

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         7,362.70        $         5,609.31

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      7,362.70               $   5,609.31




Official Form 106I                                                       Schedule I: Your Income                                                 page 1
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Debtor 1   Wayne Kevin Lewis
Debtor 2   Carnell Lewis                                                                         Case number (if known)    20-30280-KRH


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      7,362.70       $         5,609.31

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,453.51   $            1,069.53
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $         43.64   $                0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $        114.55   $                0.00
     5e.    Insurance                                                                     5e.        $        535.73   $                0.00
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                0.00
     5g.    Union dues                                                                    5g.        $         63.09   $                0.00
     5h.    Other deductions. Specify: Aflac Prem Ridq                                    5h.+       $          0.00 + $               60.19
            Aflac St Disab                                                                           $          0.00   $               54.60
            Aflac Vision Pr                                                                          $          0.00   $               28.41
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,210.52       $        1,212.73
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,152.18       $        4,396.58
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $        250.00       $               0.00
     8b. Interest and dividends                                                           8b.        $          0.00       $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
     8e. Social Security                                                                  8e.        $              0.00   $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.        $              0.00   $               0.00
     8g. Pension or retirement income                                                     8g.        $              0.00   $               0.00
                                               Federal and State Tax Refunds
     8h.    Other monthly income. Specify:     Amortized                                  8h.+ $              557.00 + $                   0.00
            Lyft                                                                               $              500.00   $                   0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,307.00       $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,459.18 + $       4,396.58 = $          10,855.76
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $          10,855.76
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Wayne Kevin Lewis                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                 Carnell Lewis                                                                         A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           20-30280-KRH
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  18                   Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,788.04

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             10.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Wayne Kevin Lewis
Debtor 2     Carnell Lewis                                                                             Case number (if known)      20-30280-KRH

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 425.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 175.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 550.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                786.00
8.    Childcare and children’s education costs                                                 8. $                                                100.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                150.00
10.   Personal care products and services                                                    10. $                                                 150.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  110.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  290.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property                                                             16. $                                                  78.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Auto Lease                                                      17c. $                                                  874.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    7.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                   0.00
      20b. Real estate taxes                                                               20b. $                                                   0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                   0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                   0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                   0.00
21.   Other: Specify:    Miscellaneous Expenses                                              21. +$                                             1,012.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       8,355.04
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       8,355.04
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              10,855.76
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              8,355.04

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              2,500.72

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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                        AIS Portfolio Services, LP
                        Attn: Exeter Finance LLC
                        4515 N Santa Fe Ave. Dept. APS
                        Oklahoma City, OK 73118


                        Allied Title Lending, LLC
                        d/b/a Allied Cash Adv.
                        P.O. Box 36381
                        Cincinnati, OH 45236-0381


                        Bank of America
                        4060 Ogletown/Stanton Rd
                        Newark, DE 19713


                        Barclays Bank Delaware
                        PO Box 8803
                        Wilmington, DE 19899-8803


                        Best Buy/ CBNA
                        P.O. Box 6497
                        Sioux Falls, SD 57117


                        Capital One Bank USA NA
                        PO Box 30281
                        Salt Lake City, UT 84130


                        Capital One/Walmart
                        PO Box 30281
                        Salt Lake City, UT 84130


                        CitiCards CBNA
                        701 E 60th Street N
                        Sioux Falls, SD 57117


                        Commonwealth of Virginia
                        Department of Taxation
                        P.O. Box 2156
                        Richmond, VA 23218


                        County of Chesterfield
                        Treasurer - Personal Property
                        P.O. Box 70
                        Chesterfield, VA 23832
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                    Credit One Bank
                    P.O. Box 98872
                    Las Vegas, NV 89193-8872


                    Credit One Bank
                    6801 S. Cimarron Road
                    Las Vegas, NV 89113


                    Exeter Finance
                    1231 Greenway Dr. Ste 450
                    Irving, TX 75038


                    Fed Loan Servicing
                    P.O. Box 69184
                    Harrisburg, PA 17106


                    First National Credit Card
                    500 E. 60th Street N.
                    Sioux Falls, SD 57104-0478


                    First Savings Credit Card
                    500 E 60th Street N
                    Sioux Falls, SD 57104


                    Focused Recovery Solutions
                    Re:
                    9701 Metropolitan Ct, Suite B
                    Richmond, VA 23236-3662


                    Genesis Bankcard Service
                    PO Box 4499
                    Beaverton, OR 97076


                    Gentry Septic Pumping, Inc
                    23522 Cox Road
                    Petersburg, VA 23803


                    Henrico Doctor's Hospital
                    Attn: Legal Dept.
                    P.O. Box 13620
                    Richmond, VA 23225
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                    Holiday Lounge, LLC
                    c/o Monterey
                    4095 Avenida De La Plata
                    Oceanside, CA 92056


                    Interval International
                    Membership Processing
                    PO BOX 432170
                    Miami, FL 33243-2170


                    Jared
                    375 Ghent Road
                    Akron, OH 44333-2668


                    Langley Federal Credit Union
                    Re: Bankruptcy
                    P.O. 7463
                    Hampton, VA 23666


                    MB Financial Services
                    PO Box 961
                    Roanoke, TX 76262


                    Monterey Collection
                    Re: Bankruptcy
                    P.O. Box 4658
                    Carlsbad, CA 92018


                    Nationwide Credit Inc
                    Re: Bankruptcy
                    P.O. Box 26314
                    Lehigh Valley, PA 18002-6314


                    OneMain Financial
                    100 International Drive
                    Suite 15000
                    Baltimore, MD 21202-4683


                    Parham Advanced Surgical Partn
                    3 Maryland Farms
                    Suite 250
                    Brentwood, TN 37027


                    PennyMac Loan Services
                    6101 Condor Drive
                    Moorpark, CA 93021
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                    Pulmonary Associates of Rich
                    P.O. Box 1180
                    Sharpsburg, GA 30277


                    Samuel I White, PC
                    1804 Staples Mill Rd, Ste 200
                    Richmond, VA 23230


                    Sterling Jewelers
                    Re: Bankruptcy
                    375 Ghent Road
                    Akron, OH 44333


                    SYNCB/Amazon PLCC
                    P.O. Box 965015
                    Orlando, FL 32896-5015


                    SYNCB/Paypal
                    PO Box 960080
                    Orlando, FL 32896-0080


                    SYNCB/QVC
                    Attn: Bankruptcy
                    P.O. Box 965018
                    Orlando, FL 32896


                    The Home Depot/CBNA
                    PO Box 9001010
                    Louisville, KY 40290-1010


                    Virginia Credit Union
                    P.O. Box 90010
                    Richmond, VA 23225


                    Westview Financial Services
                    448 Viking Dr
                    Ste 220
                    Virginia Beach, VA 23452
